           Case 2:04-cr-00305-JAM Document 206 Filed 01/28/08 Page 1 of 2


 1   Shari Rusk
     Attorney at Law
 2   Bar # 170313
     1710 Broadway
 3   Suite 111
     Sacramento, CA 95818
 4

 5                   UNITED STATES DISTRICT COURT FOR THE
 6                       EASTERN DISTRICT OF CALIFORNIA
 7

 8   United States of America,          ) Case No.: Cr. S. 04-305 DFL
                                        )
 9               Plaintiff,             )
                                        ) Date: February 26, 2008
10        vs.                           ) Time: 10:00 a.m.
                                        ) Court: Hon. D. Lowell Jensen
11   Martin Isias, et. al.,             )
                                        ) Stipulation & Order to Continue
12               Defendant.             ) Judgment & Sentencing
                                        )
13

14        Defendant Martin Isias is scheduled to be sentenced on
15   January 29, 2008.    The government filed a written response to
16   defendant’s Sentencing Memorandum which raises many disputed
17   points.    It is the defendant’s intention, through undersigned
18   counsel, to attempt to meet with the government prior to
19   sentencing to see if certain issues may be resolved by the
20   parties, prior to presentation to the Court.        Mr. Isias requests
21   that his judgment and sentencing be continued to February 26,
22   2008, and that date is available with the Court.         The government
23   is not opposed to this request.
24

25   Dated: January 24, 2008           Respectfully submitted,
26

27                                   __/s/ Shari Rusk_____________
                                     Shari Rusk
28                                   Attorney for Defendant
                                     Martin Isias


                                         - 1
           Case 2:04-cr-00305-JAM Document 206 Filed 01/28/08 Page 2 of 2


 1

 2
                                        /s/ Phil Ferrari_______
 3   Dated: January 24, 2008              Phil Ferrari
                                       Assistant United States Attorney
 4

 5                                     _
 6                             ORDER
 7
          It is so ordered.    The judgment and sentencing in this
 8
     matter will be rescheduled for February 26, 2008.
 9

10
     Dated: January 25, 2008     ___________________________
11                                  Hon. Judge D. Lowell Jensen
                                    United States District Court Judge
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                           - 2
